Case 2:23-cv-00482-RJS-DBP Document 299-7 Filed 04/17/24 PageID.5489 Page 1 of 5




                                Exhibit B

                          [Proposed] Order
Case 2:23-cv-00482-RJS-DBP Document 299-7 Filed 04/17/24 PageID.5490 Page 2 of 5



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  Temporary Receiver

                           IN THE UNITED STATES DISTRICT COURT
                           DISTRICT OF UTAH, NORTHERN DIVISION

   SECURITIES AND EXCHANGE                         [PROPOSED] ORDER GRANTING
   COMMISSION,                                     RECEIVER’S FIRST AND FINAL FEE
          Plaintiff,                               APPLICATION
   v.
   DIGITAL LICENSING INC. (d/b/a “DEBT
   Box”), a Wyoming corporation; JASON R.
   ANDERSON, an individual; JACOB S.
   ANDERSON, an individual; SCHAD E.               Case No. 2:23-cv-00482-RJS
   BRANNON, an individual; ROYDON B.
   NELSON, an individual; JAMES E.                 Judge Robert J. Shelby
   FRANKLIN, an individual; WESTERN OIL            Magistrate Judge Dustin B. Pead
   EXPLORATION COMPANY, INC., a Nevada
   corporation; RYAN BOWEN, an individual;
   IX GLOBAL, LLC, a Utah limited liability
   company; JOSEPH A. MARTINEZ, an
   individual; BENJAMIN F. DANIELS, an
   individual; MARK W. SCHULER, an
   individual; B & B INVESTMENT GROUP,
   LLC (d/b/a “CORE 1 CRYPTO”), a Utah
   limited liability company; TRAVIS A.
   FLAHERTY, an individual; ALTON O.
   PARKER, an individual; BW HOLDINGS,
   LLC (d/b/a the “FAIR PROJECT”), a Utah
   limited liability company; BRENDAN J.
   STANGIS, an individual; and MATTHEW D.
   FRITZSCHE, an individual,
          Defendants,

   ARCHER DRILLING, LLC, a Wyoming
   limited liability company; BUSINESS
   FUNDING SOLUTIONS, LLC, a Utah limited
   liability company; BLOX LENDING, LLC, a

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Case 2:23-cv-00482-RJS-DBP Document 299-7 Filed 04/17/24 PageID.5491 Page 3 of 5



      Utah limited liability company; CALMFRITZ
      HOLDINGS, LLC, a Utah limited liability
      company; CALMES & CO, INC., a Utah
      corporation; FLAHERTY ENTERPRISES,
      LLC, an Arizona limited liability company; IX
      VENTURES FZCO, a United Arab Emirates
      company; PURDY OIL, LLC, a Nebraska
      limited liability company; THE GOLD
      COLLECTIVE LLC, a Utah limited liability
      company; and UIU HOLDINGS, LLC, a
      Delaware limited liability company,

             Relief Defendants.


            This matter before the Court is the motion submitted by Josias N. Dewey, the Court

  Appointed Temporary Receiver of Digital Licensing, Inc. and its subsidiaries and affiliates (the

  “Receiver”), requesting that the Court, on a final basis, (1) approve the Receivership Team’s 1 fees

  and costs identified therein; and (2) order the United States Securities and Exchange Commission

  (“Commission”) to pay the fees and costs in full pursuant to the Court’s March 18, 2024

  Memorandum Decision and Order (ECF No. 275) (altogether the “Application”).

            In support of the Application, the Receiver submitted the following Declarations and

  Exhibits:

      Declaration    Declaration of Jessica Magee on behalf of H&K
      Declaration    Declaration of Jesse M. Daves on behalf of BDO
      Declaration    Declaration of Jason McNeill on behalf of MVM
      Declaration    Declaration of Becky McGee
      Exhibit A      SFAR Report
      Exhibit B      [Proposed] Order
      Exhibit C      Summary of H&K Fees by Professional
      Exhibit C-1    Summary of H&K Work and Discounts by Timekeeper and Attorney Category
      Exhibit D      Summary of H&K Fees by Activity Category
      Exhibit E      H&K’s Daily Time Records
      Exhibit F      Summary of Costs and Expenses to the Receivership Estate
      Exhibit F-1    H&K’s Reimbursable Expense Detail for Application Period
      Exhibit F-2    Summary of Services Provided by BDO and its Daily Time Records

  1
   Any capitalized terms not defined herein shall take the meaning prescribed to them in the
  Application.

                                                  -2-
Case 2:23-cv-00482-RJS-DBP Document 299-7 Filed 04/17/24 PageID.5492 Page 4 of 5




   Exhibit F-3    Summary of Services Provided by MVM and its Daily Time Records
   Exhibit F-4    Summary of Services Provided by Becky McGee and her Daily Time Records

         The Court has reviewed the Application, all Declarations and Exhibits, the record in this

  case, and applicable law. The Court finds that the Receivership Team’s fees and expenses are

  reasonable, necessary and have been beneficial to the Receivership Estate and should be allowed

  in full. Based thereon, and for good cause appearing, IT IS HEREBY ORDERED that:

            1. The Application is GRANTED in all respects;

            2. The Receivership Team’s fees and expenses over the Application Period are

                 reasonable and APPROVED, on a final basis, in the total amount of $746,941.86

                 (“Fees”), and more specifically identified as: (i) $456,337.16 for H&K and the

                 Receiver; (ii) $264,330.90 for BDO; (iii) $18,689.80 for MVM; and (iv) $7,584.00

                 for Ms. McGee.

            3. The Commission shall pay the Fees and are immediately ORDERED to remit

                 payment of the Fees amount to H&K.



  IT IS SO ORDERED.

  Dated: ______________________                  __________________________________

                                                 ROBERT J. SHELBY
                                                 United States Chief District Judge




                                               -3-
Case 2:23-cv-00482-RJS-DBP Document 299-7 Filed 04/17/24 PageID.5493 Page 5 of 5




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                                       -4-
